        Case 2:16-cr-00199-JAM Document 71 Filed 11/16/18 Page 1 of 4


 1   Steven Plesser, State Bar No. 161615
     ROTHSCHILD, WISHEK & SANDS LLP
 2   765 University Avenue
     Sacramento, CA 95825
 3   Telephone: (916) 444-9845
     Facsimile: (916) 640-0027
 4   Email: splesser@rwslaw.com
 5   Attorneys for Defendant
     GLORIA HARRIS
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 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA                                   Case No.: 2:16-CR-0199 GEB
12                      Plaintiff,                               STIPULATION REGARDING
                                                                 EXCLUDABLE TIME PERIODS UNDER
13             vs.                                               SPEEDY TRIAL ACT; [PROPOSED]
                                                                 FINDINGS AND ORDER
14    KIONI DOGAN, et al,
                                                                 Date: November 16, 2018
15                      Defendant.                               Time: 9:00 a.m.
                                                                 Judge: Hon. Garland E. Burrell
16
                                                            /
17
             IT IS HEREBY STIPULATED by and between the defendants, Kioni Dogan, Gloria
18
     Harris, and Lavonda Bailey, by and through their undersigned defense counsel, and the
19

20   United States of America, by and through its counsel, Christopher Hales, Assistant United
21   States Attorney, that the status conference currently set for November 16, 2018 should be
22
     continued until January 18, 2019, and to exclude time between November 16, 2018 and
23
     January 18, 2019, under Local Code T4.
24

25           The parties agree and stipulate, and request that the Court find the following:
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                  1. The government has provided discovery associated with this case, which is
27

28                     voluminous - i.e. approximately 14,000 pages, plus media materials, to
                                                                 1
      Vanwinkle, Thomas/Stipulation Regarding Excludable Time Periods Under Speedy Trial Act; [Proposed] Findings and Order
       Case 2:16-cr-00199-JAM Document 71 Filed 11/16/18 Page 2 of 4


 1                    defense counsel. Both counsel for Dogan and Harris were substituted in for
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                      original counsel and have not been counsel of record the entire time since the
 3
                      indictment and thus have had more limited time to prepare.
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 5               2. Given the volume of discovery, defense counsel for defendants require
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                      additional time to review the discovery in this matter, to consult with their
 7
                      respective clients and to conduct any necessary investigation and research
 8

 9                    related to the charges, to evaluate possible settlement, and to otherwise

10                    prepare for trial.
11
                 3. Additonally, counsel for defendant Harris ability to spend time on this matter
12

13                    was recently negatively impacted by the time necessarily spent dissolving his

14                    law partnership and transitioning his practice to another firm. That process is
15
                      now complete.
16

17               4. Counsel for defendants believes that failure to grant the above-requested

18                    continuance would deny counsel the reasonable time necessary for effective
19
                      preparation, taking into account the exercise of due diligence.
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21               5. The government is unopposed to the requested continuance.

22
                 6. Based on the above-stated findings, the ends of justice served by continuing
23
                      the case as requested outweigh the interest of the public and the defendant in
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25                    a trial within the original date prescribed by the Speedy Trial Act.

26
                 7. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
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                      3161, et seq., within which trial must commence, the time period of
28
                                                                  2
     Harris, Gloria /Stipulation Regarding Excludable Time Periods Under Speedy Trial Act; [Proposed] Findings and Order
       Case 2:16-cr-00199-JAM Document 71 Filed 11/16/18 Page 3 of 4


 1                    November 16, 2018, to January 18 2019, inclusive, is deemed excludable
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                      pursuant to 18 U.S.C. section 3161(h)(7)(A), B(iv)[Local Code T4] because
 3
                      it results from a continuance granted by the Court at counsel’s request on the
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 5                    basis of the Court’s finding that the ends of justice served by taking such

 6                    action outweigh the interest of the public and the defendant in a speedy trial.
 7
                 8. Nothing in this stipulation and order shall preclude a finding that other
 8

 9                    provisions of the Speedy Trial Act dictate that additional time periods are

10                    excludable from the period within which a trial must commence.
11

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14
             IT IS SO STIPULATED.                            Respectfully submitted,
15

16   Dated: November 15, 2018                                /s/ Steven B. Plesser
17                                                           STEVEN B. PLESSER
                                                             Attorney for Gloria Harris
18
     Dated: November 15, 2018                                /s/ Steven B. Plesser for:
19
                                                             For CHRISTOPHER HALES
20                                                           Assistant U.S. Attorney
                                                             Attorney for the United States
21

22   Dated: November 15, 2018                                /s/ Steven B. Plesser
                                                             For Hayes Gable III
23                                                           Attorney for Kioni Dogan
24
     Dated: November 15, 2018                                /s/ Steven B. Plesser
25                                                           For ROBERT WILSON
                                                             Attorney for Lavonda Bailey
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     Harris, Gloria /Stipulation Regarding Excludable Time Periods Under Speedy Trial Act; [Proposed] Findings and Order
       Case 2:16-cr-00199-JAM Document 71 Filed 11/16/18 Page 4 of 4


 1                                         FINDINGS And ORDER
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             IT IS SO FOUND AND ORDERED.
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             Dated: November 15, 2018
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     Harris, Gloria /Stipulation Regarding Excludable Time Periods Under Speedy Trial Act; [Proposed] Findings and Order
